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The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, Massachusetts 02210

Re: Ross McLellan

The ideal man bears the accidents of life with dignity and grace, making the best of
circumstances.

Aristotle (384 BC-322 BC) Greek philosopher.

Altruistic, Charitable, Conscientious, Genuine, Humble, Intelligent

The adjectives above along with the quote from Aristotle exemplify my
brother's character. | am Ross’s sister and even though he is younger if | ever had a
problem he was the brother | turned to. We grew up ina working-class family. So we
had enough money for the basics but we did not have the extras that other families
had. If we wanted something we had to work for it. At a very young age Ross had a
paper route and that is when he first became conscientious. Every day he would have
to come home from school and deliver the papers and once a week he would have to
collect the money from his customers. We had a nursing home at the end our street
and he was very friendly with the residents since he might be the only outsider who
would “visit” them on a daily basis.

As the youngest of three, Ross witnessed my other brother and | starting school
and developing into elementary students. He wanted to participate so utilizing the
encyclopedias that my mother kept in the bookcase, Ross saw an opportunity to
educate himself. So when he could not read independently he would ask my mother to
read to him. As he flourished with the information he retained it was evident that he
had a special talent for mathematics. Once he started school the upper elementary
teachers would ask for him to come up to the fifth and sixth grade classes to solve math
problems that their students were struggling with. | can honestly say that my brother is
the only person | know that came home from SAT’s and continued to work ona
problem from the test that he was struggling with. He would not give up until he
solved it. The diligence he put forth reaped the benefit with almost a perfect score in
math. Ross’s intelligence in math guided him to his major in finance at Stonehill College.
After graduation he continued his studies with an MBA from Boston College. Even
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today he is constantly reading and publishing articles to share his knowledge with
colleagues.

Ross was always generous to a fault. He would be the friend who would give
you the shirt off his back and give willingly with a smile on his face. In the true spirit of
giving he would donate time or money to causes that touched him or were part of his
belief system. Ross never expected to be repaid with a loan or favors he naturally
would move on and not hold a grudge. Our aunt is a nun whose order is the Sisters of
Mercy. Ross was asked for a donation that he gave willingly and when given the
opportunity to attend a recognition banquet he gladly gave the tickets to our parents.
Toward the end of our parents’ lives they were struggling financially. Our mother
wanted nothing more than to spend her final days in her beloved home of 42 years.
Ross discretely gave my father fifty thousand dollars so he could pay his bills. As the
executrix of my parents’ estate | did not know of this transaction until after their
passing. He did not ask for the money to be returned or make it a bone of contention.
Also, when my mother was placed ina nursing home in her final months the family was
required to pay fifteen thousand dollars to pay her Medicaid bill. Ross was the first
person to step forward and willingly paying. | have also witnessed my brother
donating his time to his boys as coaches for the various teams they have participated
in. Having three boys means that he is constantly found at an ice rink, baseball or
soccer field. For his precious daughter he proudly sits at her dance and gymnastic
recitals with a bouquet of flowers waiting for her. As a volunteer Ross is the coach with
the clear head and does not yell and criticize his players. He has tweeted out and
shared emails about how he is disappointed in the parents who do not let children play
and enjoy.

Ross’s humility is almost comical. He does not like the spotlight on him. A
perfect example in my mind is when Ross’s second son, eae was born. eee
was born on January 1st making him the first baby born on the South Shore in 2007,
The local newspaper came to interview Ross and his wife, Lisa, to get details for this
human interest story. When they asked Ross what he did fora living his answer was
very general and basic when at the time he was a Vice President. Ross’s friends and
colleagues had a good laugh at his reluctance to share his accomplishments in the
corporate world.

In my opinion, Ross is a genuine down to earth person who will support and
guide you to be the best person you can be. My husband and | chose Ross to be our
first born’s Godfather. We believe that he is an excellent example for our son by living
your life with honor, dignity and humor. As a genuine uncle he started a college fund
for all his nieces and nephews and our son who is now college age is thankful for this
monetary support. As a brother he is also wise thoughtful with advice. When our
mother was in poor health my brothers and | had to make the decision when she broke
her hip to follow through with surgery or have hospice come in and keep her
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comfortable until she passed. Ross was the person who helped me the most with the
decision and never allowed me to second guess our decision.

Altruistic is defined as unselfishly concerned for or devoted to the welfare of
others. My brother is the exemplar of altruistic. He has lived his life making the others
around him better people. When people he cares about needed assistance in any
manner he would be the first person to offer a kind word or support in any way he
could. My conclusion of the circumstances at the moment are because of his altruistic
personality. As you can see it can be a curse as well as a blessing. If you were in a crisis
situation you would want Ross at your side because he would never mention your
vulnerability but provide encouragement. He has a large contingent of support from
family, friends and colleagues. It was extremely evident to me the number of friends
and colleagues Ross had when our parents passed away in 2016. The wakes, our
parents died within 3 months of each other, took place in Rhode Island where we grew
up. On both occasions numerous friends and colleagues drove to show their support.
It is about an hour drive on a good day without traffic so after a long day in the office
they took the time out to let Ross know that they respect and support him. | think that
Says a great deal about a man and his character.

Respectfully,
Patricia McLellan LePage
Patricia LePage, M.Ed

Reading Teacher

Joseph Case Jr. High School
